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                                     Supplemental Complaint

                                          Exhibit Index

                                    Bates Stamped Documents

         Documents appear in this order, with Bates-Numbered Slip-Sheets Between them. The
              documents are cited by Bates Number in the Supplemental Complaint.

Document Order Bates Range                    Document Title / Identifier



   1.          DOE00000196-DOE0000213          Everest/Wyotech Transfer of Credits Memo

   2.          DOE00000584-DOE0000603         Borrower Defense to Repayment Claims
                                              Evaluation

   3.          DOE00002144-DOE00002147        "Manning Memo"

   4.          DOE00002342                    Submissions by Attorneys General Seeking Relief
                                              for Constituents

   5.          DOE00002528-DOE00002529        Charlotte School of Law Memo

   6.          DOE00002653                    School Notice Letters and Other Open Items

   7.          DOE00003427-                   Next Gen FSA Key Actions

   8.          DOE00004316-DOE00004320        Summary of Information Requested by Diane
                                              Regarding Loan Discharges Pursuant to 2016
                                              Regulation


   9.          DOE00004321-DOE00004322        Borrower Defense – Summary of Notice to
                                              Schools Process

   10.         DOE00004939-4940               Capella School Notice Letter
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                                                           Durbin Question 6.4

             Submissions by Attorneys General Seeking Relief for Constituents - Updated August 6, 2019
SCHOOL/SCHOOL GROUP                       DIPLOMA PROGRAM(S)                         ATTORNEY                 STATE                SUBMISSION
                                              IF APPLICABLE                          GENERAL                                           DATE
                                                                                                                               • 7/20/2016
                                                                                                                               • 7/26/2016
                                                                                                                               • 8/3/2016
  American Career Institute                                                          Maura Healy           Massachusetts       • 8/12/2016
                                                                                                                               • 11/16/2016
                                                                                                                               • 11/23/2016
                                                                                                                               • 1/3/2017

                                                                                                                               • 5/3/2016
                                                                                                                               • 7/22/2016
                                                                                                                               • 10/19/2016
      Anthem University                                                              Lori Swanson            Minnesota         • 2/13/2017
                                                                                                                               • 3/9/2017
                                                                                                                               • 4/4/2017

   Corinthian Colleges, Inc.                                                        Maura Healy            Massachusetts       • 11/30/2015
   Corinthian Colleges, Inc.                                                        Brad Schimel            Wisconsin          • 2/4/2016

                                    • Dental Assistant
                                    • Electrician
                                    • Massage Therapy
                                    • Medical Administrative Assistant              Lisa Madigan                               • 12/16/2016
   Corinthian Colleges, Inc.                                                                                  Illinois
                                    • Medical Assistant                             Kwame Raoul                                • 6/3/2019
                                    • Medical Insurance Billing and Coding
                                    • Pharmacy Technician



   Corinthian Colleges, Inc.                                                        Bob Ferguson            Washington         • 12/20/2016


                                                                                                                Illinois
                                                                                                             Washington
                                                                                     Lisa Madigan          Massachusetts
                                                                                     Bob Ferguson             California
                                                                                      Maura Healy            Connecticut
                                                                                    Xavier Becerra            Delaware
                                                                                    George Jepsen               Hawaii
                                                                                    Matthew Dean                 Iowa
                                                                                     Douglas Chin             Kentucky
                                                                                      Tom Miller              Maryland
                                    Submission for discharge for students                                       Maine
                                                                                     Andy Beshear
                                    enrolled at programs covered by the                                       Minnesota
   Corinthian Colleges, Inc.                                                        Brian E. Frosh                             • 6/5/2017
                                    Department’s job placement rate                                          Mississippi
                                                                                     Janet T. Mills
                                    misrepresentation findings.                                             New Mexico
                                                                                     Lori Swanson
                                                                                       Jim Hodd               New York
                                                                                    Hector Balderas             Oregon
                                                                                 Eric T. Schneiderman       Pennsylvania
                                                                                  Ellen F. Rosenblum           Virginia
                                                                                     Josh Shapiro       District of Columbia
                                                                                   Mark R. Herring
                                                                                    Karl A. Racine


   Court Reporting Institute        Submission for discharge for students           Bob Ferguson            Washington
                                    enrolled at CRI's Seattle and Tacoma                                                       • 11/21/16
                                    campuses.
Globe University & Minnesota
                                                                                     Lori Swanson            Minnesota         • 6/7/2016
       School of Business
Illinois Institute of Art and Art   Submission requests students have any            Kwame Raoul               Illinois
      Institute of Colorado         federal student loan used to pay for            Phil Weiser               Colorado
                                    schooling at the affected campuses from
                                    January 1, 2018 onward discharged and                                                      • 6/3/2019
                                    any amounts paid on those loans refunded.


      Kaplan University             • Medical Assistant                                                                        • 5/6/2016
                                                                                     Maura Healy           Massachusetts
                                    • Medical Billing and Coding                                                               • 5/31/2016
  Lincoln Technical Institute       • Criminal Justice                              Maura Healy            Massachusetts       • 1/14/2016
     Westwood College               • Criminal Justice                              Lisa Madigan                               • 12/13/2016
                                                                                                               Illinois
                                                                                    Kwame Raoul                                • 6/3/2019




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   Name:          Next Gen FSA Key Actions 08.14.1
                  (1).pptx

Comments:         An installation of eDrawings 2013 was
                  not found. (ErrCode=9603, Line=480)




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Next Gen FSA Key Actions

August 14, 2019




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Next Gen FSA
                                                                  Highlights
                                                                          August 14, 2019

    Next Gen FSA Acting Program Manager
    •   James Davis arrived in FSA on August 12. He serves as the Next Gen FSA Acting Program Manager.
        James comes to FSA after serving in the Air Force for 33 years.
    Solicitation Updates
    •   Enhanced Processing Solution:
              •   Objective: As part of Next Gen, FSA will be moving roughly 40 million existing borrowers from
                  multiple servicing systems onto a single system. This transition process, which is expected to begin
                  by January 2021, requires us to award a new contract to manage the single processing system.
              •   Status: We have reviewed proposals and recently began discussions with multiple vendors with the
                  hope of making an award in first quarter FY 2020.
    •   Business Process Operations:
              •   Objective: Next Gen will also include multiple contracts to operate contact and manual processing
                  centers for all student aid customer and partner interactions.
              •   Status: Proposals were received and are being evaluated by the Contracting Officer. Review
                  teams are in clearance with OGC and kick-off meetings are expected this week.
    •   Optimal Processing Solution:
              •   Objective: We are seeking new processing systems for the full suite of student aid activities from
                  aid application through loan servicing and debt collection; these new systems will leverage the
                  latest technology to increase efficiency, reduce cost, and enhance cybersecurity.
              •   Status: We expect to finalize an amendment in mid to late August to include the proposal due date;
                  this timing will support a December 2019 award.

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                                      Borrower Defense




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Next Gen FSA

                             Borrower Defense to Repayment
    A type of loan discharge based on a determination that the borrower’s school engaged in certain acts or
    omissions, generally misrepresentations, fraud, or breach of contract that unlawfully caused the borrower to
    enroll or continue enrollment at the school.

          Borrower Defense (BD) loan discharges were very rarely requested prior to 2015
          Total borrower defense applications went from a few dozen to 24,000 in one year
          Borrower Defense Group in FSA created in 2016
          Applications received to date now total nearly 280,000
          We are currently receiving an average of 1,600 new applications per week
                                                                                             School Ownership Groups          Total     Percentage
                                                                                                                              Cases
                                                                                             Corinthian Colleges, Inc.        130,556        48.93%
                                                                                             ITT Educational Services          26,553         9.95%
                                                                                             Inc.
                                                                                             DeVry                             16,225         6.08%
                                                                                             University of Phoenix             12,771         4.79%
                                                                                             EDMC                              10,334         3.87%
                                                                                             CEC                                9,237         3.46%
                                                                                             Westwood                           3,577         1.34%
                                                                                             Dream Center Education             3,392          3,392
                                                                                             Holdings (DCEH)                                  1.27%
                                                                                             All Other Schools                 54,182        20.31%


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Next Gen FSA

                       Borrower Defense Legal Framework

                                                                                Statute
    Section 455(h) of the Higher Education Act of 1965, as amended (HEA), specifies that the Secretary must, through
    regulation, specify the acts or omissions of a school that could give rise to a borrower defense discharge.

                                                                            Regulations
    “1995 Rule”:
         • Generally applies to loans issued before July 1, 2017
         • Discharge based on act or omission of the school that would give rise to a cause of action against the
             school under applicable state law

    “2016 Rule”:
         • Generally applies to loans issued on or after July 1, 2017
         • Establishes a federal standard
         • Loan discharge must be as a result of a substantial misrepresentation by a school, a breach of contract
             by the school, or a judgment against a school
         • Adds procedural requirements, including an opportunity for the school to respond and provide evidence to
             refute the borrower’s claims

    The Department also is in the process of finalizing a new borrower defense regulation (the “2020 Rule”)




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               Six Stages of a Borrower Defense Application

                                                                             Intake

                                                                  School Response
                                                                     (NEW under 2016 Rule)




                                                                   Adjudication


                                                  Post-adjudication processing


                                                              Application closure


                                                                    Reconsideration
                                                                     (NEW under 2016 Rule)


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Next Gen FSA
                       Status of Borrower Defense Applications Received


                 Of the nearly 280,000 Borrower Defense applications received since 2015:
    •    57,000 have been adjudicated, processed, and closed
    •    38,700 have been adjudicated but have not yet been processed
             o     Over 27,700 approved applications will be finalized when appropriate relief is determined
             o     Nearly 11,000 applications have been adjudicated as denied applications but have not yet been
                   processed
                                                                                             Total Borrower Defense Applications:
                                                                                                           279,520
                                                                                                    As of Week Ending 08/06/2019                Application
                                                                                                                                              Denied‐Pending
                                                                                                                                                 10,975

                                                                                                                                                  Denied‐
                                                                                                                                                 Processed
                                                                                                        Pending/Not
                                                                                                                                                   9,076
                                                                                                        Adjudicated
                                                                                                                                                     Closed
                                                                                                          177,295
                                                                                                                                 Approved‐Relief      6,464
                                                                                                                                    Pending
                                                                                                                                       27,770

                                                                                                                           Approved‐Relief
                                                                                                                              Provided
                                                                                                                               47,940




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Next Gen FSA
                                        Challenges and Solutions

    Three Significant Challenges and Corresponding Projects                                                                    Borrower Defense
    to Facilitate Elimination of the Backlog of Pending                                                                       “Systems” Over Time
    Applications:
                                                                                                                                2015/2016 – 1000s of
             •      Platform                                                                                                     Excel Spreadsheets
             •      Staffing Increase
             •      Relief Approach for Approvals                                                                              2017 – Access platform
                                                                                                                                (short-term solution)
    Challenge #1: Implementation of the 2016 Regulation
    (following court order):                                                                                                  2018 – CEMS Salesforce
                                                                                                                                      platform
    The 2016 regulation added new procedural requirements to the application review
    process, including notice to the school of the borrower’s allegations and the
    opportunity for the school to provide a response and evidence to refute the
                                                                                                                               2019 – Updated CEMS
    borrower’s allegations.                                                                                                     Salesforce platform to
                                                                                                                              implement 2016 Borrower
    Solution: Updates to Borrower Defense (Salesforce)                                                                              Defense Rule
    Platform
                                                                                                                              2020 (projected) – Moving
             •      Enhancements to the Salesforce platform to comply with the 2016                                              to Next Gen CEMS
                    regulation are currently in the build phase                                                                 Salesforce platform will
                   Completion date in late August                                                                                become part of the
                                                                                                                              technological backbone to
                                                                                                                                  the Next Gen DCC


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Next Gen FSA
                                        Challenges and Solutions

    Challenge #2: Additional Staffing Resources are needed to Adjudicate the Growing
    Backlog of Pending Borrower Defense Applications:
                   New borrower defense applications are being filed at a quicker pace than the existing staff can adjudicate,
                    resulting in a growing backlog

                   Borrower Defense Unit previously had well over 30 staff and contractors adjudicating borrower defense
                    applications when the number of pending applications was under 70,000
                   Due to attrition and other factors, there currently are only five (5) full-time and one (1) part-time Borrower Defense
                    staff and seven (7) contractors.



     Solution – Increased Staffing
             FSA is in the process of hiring and onboarding over 25 additional staff and contractors. Onboarding is expected to
             begin in late August.




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                                        Challenges and Solutions

    Challenge #3: Approvals on Hold Pending Relief Determinations
    An approved application cannot be processed until a determination is made regarding the appropriate relief for the
    borrower. Currently, there are over 27,700 approved applications that are on hold pending a relief determination.
            The vast majority of the “approved but pending relief” applications are from borrowers who attended Corinthian
                   Colleges, Inc.

                    oCorinthian tiered relief methodology subject to injunctive order (entered in Manriquez case)

            For non-Corinthian approvals, there currently is no existing relief approach, and the Corinthian methodology is
                   inapplicable, so a new tiered relief methodology is required


    Solution – New Relief Approach(es)
            •    FSA has been working with OUS and OGC on alternative methodologies
            •    A new tiered relief approach is currently under consideration by senior leadership
            •    FSA hopes to have a final decision in the next 30 days so that we can begin processing the approved
                 applications.




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                                                      Other Challenges
Lawsuits:
•     Manriquez – injunctive order entered regarding                                                                         Borrower Defense
      Corinthian tiered relief methodology                                                                                   attorneys work with the
•     Bauer – court held that ED delay of 2016 regulation                                                                    Office of General
      was impermissible and ordered immediate                                                                                Counsel (OGC) and the
      implementation                                                                                                         Department of Justice
•     Sweet – alleges unreasonable delay and bad faith                                                                       (DOJ) on the specific
      regarding pending borrower defense applications                                                                        borrower allegations,
•     Nearly 20 lawsuits involving borrower defense filed                                                                    gather documents for
      since 2017                                                                                                             the administrative
                                                                                                                             record, and provide
                                                                                                                             information,
Congressional and public scrutiny:
                                                                                                                             documents, and input
•     Quarterly reporting to Congress required                                                                               requested by OGC and
•     Frequent communications from borrowers                                                                                 DOJ in connection with
                                                                                                                             the lawsuit.


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